                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )   No.: 3:03-CR-6-PLR-CCS
                                                    )
NATHANIEL T. TAYLOR                                 )


                             MEMORANUM AND ORDER


        This matter is before the Court on the defendant’s pro se motion for early

termination of supervised release [R. 82]. In support of his motion, Defendant states that

he received a five-year term of supervised release which is scheduled to expire in January

2015.    He has maintained steady employment and has performed well while on

supervised release.

        Defendant pled guilty to conspiracy to possess with intent to distribute fifty grams

or more of cocaine base, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(A). He was

sentenced to 135 months imprisonment, followed by a five-year term of supervised

release on August 5, 2003. His sentence was reduced to 110 months based on the

Government’s motion, pursuant to Rule 35(b) of the Federal Rules of Criminal

Procedure, on April 7, 2005. On October 17, 2008, Defendant’s sentence was further

reduced to 98 months, pursuant to 18 U.S.C. § 3582(c) (retroactive amendments to the

crack cocaine guidelines). Defendant began his term of supervised release on January 8,

2010, and it is set to expire on January 7, 2015.




Case 3:03-cr-00006-PLR-CCS        Document 83 Filed 05/08/14          Page 1 of 3    PageID
                                        #: 103
      The Probation Office reports that on August 17, 2013, Defendant was arrested for

Domestic Assault and Resisting Arrest. Defendant was placed back on code-a-phone,

drug testing, and the criminal cases were monitored. The Domestic Assault case was

dismissed, and the resisting arrest charge was resolved by placing Defendant on

probation. The Probation Office reports that Defendant has maintained good conduct

since the incident on August 17, 2013.           In addition, Defendant has maintained

employment; has had no further arrests; and has had no positive drug tests.                 The

government has not filed any opposition to Defendant’s motion.

      Defendant moves for early termination of supervised release pursuant to 18 U.S.C.

§ 3583(e) which provides:

      The court may, after considering the factors set forth in section 3553(a)(1),
      (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(6), and (a)(7) –

      Terminate a term of supervised release and discharge the defendant
      released at any time after the expiration of one year of supervised release,
      pursuant to the provisions of the Federal Rules of Criminal Procedure
      relating to the modification of probation, if it is satisfied that such action is
      warranted by the conduct of the defendant released and the interest of
      justice.

18 U.S.C. § 3583(e)(1).

      After carefully considering the requirements of the statute, the Court finds that the

relevant portions of 18 U.S.C. § 3583(a) support an early termination of Defendant’s

supervised release. In support of this determination, the Court notes that Defendant has

completed more than one year of his term of supervised release, and that defendant

currently is in compliance with the conditions of his release. The Court also notes that

Defendant has maintained steady employment since his release from prison. In addition,
                                             2

Case 3:03-cr-00006-PLR-CCS        Document 83 Filed 05/08/14           Page 2 of 3        PageID
                                        #: 104
neither his probation officer, nor the Government, oppose the motion. Accordingly,

because the requirements of 18 U.S.C. § 3583(e)(1) have been satisfied and in light of the

lack of any objection by the Probation Office or the Government, the Court finds

Defendant’s motion for early termination of supervised release well-taken, and it is

hereby GRANTED. Defendant’s term of supervised release is TERMINATED.

      IT IS SO ORDERED.

      Enter:




                                            3

Case 3:03-cr-00006-PLR-CCS       Document 83 Filed 05/08/14         Page 3 of 3    PageID
                                       #: 105
